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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

 ANIKA RENZ and MARY LEACH,               )
                                          )
       Plaintiffs,                        )
                                          )
 v.                                       )      Case No. 3:23-cv-00139-DRL-MGG
                                          )
 LDH PETRO INC. and                       )
 HARCHARN GARCHA,                         )
                                          )
       Defendants.                        )

                     JOINT MOTION TO APPROVE SETTLEMENT
                      OF FLSA AND WAGE HOUR COMPLAINT

       On February 17, 2023, Anika Renz and Mary Leach (collectively “Plaintiffs”) filed

 a Complaint for Violations of the Fair Labor Standards Act in the United States District

 Court for the Northern District of Indiana, South Bend Division against LDH Petro Inc. and

 Harcharn Garcha (collectively “Defendants”). On February 13, 2024 the Parties engaged

 in mediation wherein they reached agreement on the terms of settlement of this matter.

 Accordingly, the Parties now respectfully move this Court to approve the settlement and

 dismiss this action pending full payment of the amount set forth in the Settlement

 Agreement. In support of this Joint Motion, the Parties state as follows:

       1.      The Plaintiffs have asserted claims under the Federal Fair Labor Standards

 Act (“FLSA”) as well as Indiana Wage Payment statute. Defendants deny any liability or

 wrongdoing.

       2.      On February 13, 2024, the Parties engaged in mediation with

 Anthony Stites of the law firm Barrett & McNagny LLP and reached agreement on the

 terms of the settlement of this action. The Parties are filing a copy of the Settlement
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 Agreement contemporaneously with the filing of this Joint Motion as Exhibit A. The

 Settlement Agreement sets forth the amount Defendants will pay to Plaintiffs and to

 Plaintiffs’ counsel.   Under the Settlement Agreement, upon full payment of the amount

 set forth in the Settlement Agreement, the Parties will file a Stipulation of Dismissal of this

 action with prejudice.

          3.   FLSA settlement agreements require approval by a Court or the

 U.S. Department of Labor. See 29 U.S.C. § 216; Walton v. United Consumers Club, Inc.,

 786 F.2d 303, 306 (7th Cir. 1986); Raymer v. Mollenhauer, 2011 WL 338825, *1 (N.D. Ind.

 2011) (unreported); Burkholder v. City of Fort Wayne, 750 F.Supp.2d 990, 994 (N.D. Ind.

 2010).

          4.   Courts approve FLSA settlement agreements where the overall terms of the

 settlement are fair and reasonable. See Raymer, 2011 WL 338825, *1. To determine the

 fairness of a settlement under the FLSA, Courts consider whether the agreement reflects

 a reasonable compromise of disputed issues. See Burkholder, 750 F.Supp.2d at 994-95.

 Normally, a settlement is approved where it is the result of contentious arm’s-length

 negotiations that were undertaken in good faith by counsel, and serious questions exist

 such that the value of an immediate recovery outweighs the possibility of further relief

 after protracted and expensive litigation. See Burkholder, 750 F.Supp.2d at 995.

          5.   Here, the Parties respectfully request that the Court approve the settlement

 because it is fair and reasonable. Filed on February 13, 2023, the Parties have had the

 opportunity to conduct discovery and fully evaluate strengths and weaknesses of their

 respective claims and defenses and have been represented by counsel. The settlement

 reached during mediation, with both Parties represented by counsel, reflects a
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 compromise of the disputed issues and evaluations by both sides of the likelihood of

 success on the claims and defenses, and the costs of certainties and inconveniences of

 continuing litigation, trial and appeal.   The overall Settlement Agreement reflects a

 reasonable compromise of issues actually in dispute. The settlement was reached in an

 adversarial context in which both Parties were represented by competent and

 experienced counsel, and the totality of the proposed settlement is fair and reasonable.

        For the reasons stated above, the Parties respectfully request that this Court

 approve the settlement and dismiss the proceedings upon the filing of a Joint Stipulation

 of Dismissal which will be filed once the amounts set forth in the Settlement Agreement

 are fully paid.

        Dated: March 15, 2024.

 Respectfully submitted,

 /s/ Shane C. Mulholland                           /s/ Robert J. Hunt
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